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U.S. Department of Justice

Ronald C. Machen Jr.
United States Attorney

District of Columbia

 

Judiciary Center
355 Fourth St, NW

Washington, DC 20530 FI L E D
SEP i 1 2014

Clerk, U.S. District & Bankruptc
Courts for the District of Columbya

July 18, 2014

VIA EMAIL
J. Dennis Murphy, Esq.
EMAIL: Dennis@murphypricelaw.com

Re: United States v. Gina M. Adams
Crim. No, iG@- cR~ 161
Dear Mr. Murphy:

This letter sets forth the full and complete plea offer to your client, Gina M.
Adams (hereinafter referred to as “your client” or “defendant’”), from the Office of the United
States Attorney for the District of Columbia (hereinafter also referred to as “the
Government” or “this Office”). This plea offer expires on July 28, 2014. If your client
accepts the terms and conditions of this offer, please have your client execute this document
in the space provided below. Upon receipt of the executed document, this letter will become
the Plea Agreement (hereinafter referred to as “this Agreement”). The terms of the offer are
as follows:

I. Charges and Statutory Penalties

1. Your client agrees to plead guilty to a criminal Information, a copy of which is
attached, charging your client with one count of Making a False Statement, in violation of 18
U.S.C. § 1001.

2. Your client understands that a violation of 18 U.S.C. § 1001carries a maximum
sentence of five years of imprisonment; a fine of $250,000 or twice the pecuniary gain or loss
of the offense, pursuant to 18 U.S.C. § 3571(d); a term of supervised release of not more than
three years, pursuant to 18 U.S.C. § 3583(b)(2); and an obligation to pay any applicable
interest or penalties on fines and restitution not timely made.

3. In addition, your client agrees to pay a special assessment of $100 per felony
conviction to the Clerk of the United States District Court for the District of Columbia prior
to the date of sentencing. Your client also understands that, pursuant to 18 U.S.C. § 3572
and § SE1.2 of the United States Sentencing Commission, Guidelines Manual 2013

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(hereinafter “Sentencing Guidelines,” “Guidelines,” or “U.S.S.G.”), the Court may also
impose a fine that is sufficient to pay the federal government the costs of any imprisonment,
term of supervised release, and period of probation. Further, your client understands that, if
your client has two or more convictions for a crime of violence or felony drug offense, your
client may be subject to the substantially higher penalties provided for in the career-offender
statutes and provisions of the Sentencing Guidelines.

II. Factual Stipulations

4, Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is
pleading guilty. Please have your client sign and return the Statement of Offense as a written
proffer of evidence, along with this Agreement.

TIT. Additional Charges

5. In consideration of your client’s guilty plea to the above offense, your client will
not be further prosecuted criminally by this Office for the conduct set forth in the attached
Statement of Offense.

6. After the entry of your client’s plea of guilty to the offense identified in paragraph
one above, your client will not be charged with any non-violent criminal offense in violation
of Federal or District of Columbia law which was committed within the District of Columbia
by your client prior to the execution of this Agreement and about which the United States
Attorney’s Office for the District of Columbia was made aware by your client prior to the
execution of this Agreement. However, the United States expressly reserves its right to
prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16 and/or 22 D.C.
Code § 4501, if in fact your client committed or commits such a crime of violence prior to or
after the execution of this Agreement.

IV. Sentencing Guidelines Analysis

7. Your client understands that the sentence in this case will be determined by the
Court, pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of
the applicable guidelines and policies promulgated by the United States Sentencing
Commission. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to assist the
Court in determining the appropriate sentence, the parties agree to the following:

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A. Estimated Offense Level Under the Guidelines

8. The parties agree that the following Sentencing Guidelines sections apply:
U.S.S.G. § 2B1.1(a) (2) Base Offense Level 6
U.S.S.G. § 2B1.1(b)(1)(B) Loss greater than $5,000 2

Total 8

Acceptance of Responsibility

9. The Government agrees that a 2-level reduction will be appropriate, pursuant to
U.S.S.G. § 3E1.1, provided that your client clearly demonstrates acceptance of responsibility,
to the satisfaction of the Government, through your client’s allocution, adherence to every
provision of this Agreement, and conduct between entry of the plea and imposition of
sentence.

10. Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition
of an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after
it is entered, or should it be determined by the Government that your client has either (a)
engaged in conduct, unknown to the Government at the time of the signing of this
Agreement, that constitutes obstruction of justice, or (b) engaged in additional criminal
conduct after signing this Agreement.

11. In accordance with the above, the applicable Guidelines Offense Level will be at
least 6.

B. Estimated Criminal History Category

12. Based upon the information now available to this Office (including
representations by the defense), your client has no criminal convictions.

13. Accordingly, your client is estimated to have 0 criminal history points and your
client’s Criminal History Category is estimated to be I. Your client acknowledges that if
additional convictions are discovered during the pre-sentence investigation by the United
States Probation Office, your client’s criminal history points may increase. Similarly, if the
United States Probation Office determines that your client has fewer convictions than
estimated herein, your client’s criminal history points may decrease.

C. Estimated Applicable Guidelines Range
14. Based upon the agreed total offense level and the estimated criminal history
category set forth above, your client’s estimated Sentencing Guidelines range is 0-6 months

(the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G.
§ 5E1.2, should the Court impose a fine, at Guidelines level 6, the estimated applicable fine

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range is $500 to $5,000. Your client reserves the right to ask the Court not to impose any
applicable fine.

15. The parties agree that, solely for the purposes of calculating the applicable range
under the Sentencing Guidelines, neither a downward nor upward departure from the
Estimated Guidelines Range set forth above is warranted. Accordingly, neither party will
seek any departure or adjustment to the Estimated Guidelines Range, nor will either party
suggest that the Court consider such a departure or adjustment, except as provided above.
Moreover, your client understands and acknowledges that the Estimated Guidelines Range
agreed to by the parties is not binding on the Probation Office or the Court. Should the Court
determine that a different guidelines range is applicable, your client will not be permitted to
withdraw your client’s guilty plea on that basis, and the Government and your client will still
be bound by this Agreement.

16. Your clicnt understands and acknowledges that the terms of this section apply
only to conduct that occurred before the execution of this Agreement. Should your client
commit any conduct after the execution of this Agreement that would form the basis for an
increase in your client’s base offense level or justify an upward departure (examples of which
include, but are not limited to, obstruction of justice, failure to appear for a court proceeding,
criminal conduct while pending sentencing, and false statements to law enforcement agents,
the probation officer, or the Court), the Government is free under this Agreement to seek an
increase in the base offense leve] based on that post-agreement conduct.

V. Agreement as to Sentencing Allocution

17. The parties further agree that a sentence within the Estimated Guidelines Range
would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. §
3553(a). However, your client reserves the right to seek a sentence below the Estimated
Guidelines Range based upon factors to be considered in imposing a sentence pursuant to 18
U.S.C. § 3553(a).

VI. Reservation of Allocution

18. The Government and your client reserve the right to describe fully, both orally
and in writing, to the sentencing judge, the nature and seriousness of your client’s
misconduct, including any misconduct not described in the charges to which your client is
pleading guilty. The parties also reserve the right to inform the presentence report writer and
the Court of any relevant facts, to dispute any factual inaccuracies in the presentence report,
and to contest any matters not provided for in this Agreement. In the event that the Court
considers any Sentencing Guidelines adjustments, departures, or calculations different from
any agreements contained in this Agreement, or contemplates a sentence outside the
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court. In addition, if in this
Agreement the partics have agreed to recommend or refrain from recommending to the Court
a particular resolution of any sentencing issue, the parties reserve the right to full allocution
in any post-sentence litigation. The parties retain the full right of allocution in connection

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with any post-sentence motion which may be filed in this matter and/or any proceeding(s)
before the Bureau of Prisons. In addition, your client acknowledges that the Government is
not obligated and does not intend to file any post-sentence downward departure motion in
this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

VII. Mandatory Recorded Interview

19. As part of her acceptance of responsibility, your client agrees to be available to
meet with members of the Office of Personnel Management (OPM), upon request and
reasonable notice, for a recorded interview about your client’s background and decision to
falsify background investigation reports, and your client agrees that such recorded interview
may be disseminated by OPM personnel in order to prevent falsifications such as your
client’s in the future.

VIL. Court Not Bound by this Agreement or the Sentencing Guidelines

20. Your client understands that the sentence in this case will be imposed in
accordance with 18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines.
Your client further understands that the sentence to be imposed is a matter solely within the
discretion of the Court. Your client acknowledges that the Court is not obligated to follow
any recommendation of the Government at the time of sentencing. Your client understands
that neither the Government’s recommendation nor the Sentencing Guidelines are binding on
the Court.

21. Your client acknowledges that your client’s entry of a guilty plea to the charged
offense authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence
your client will receive. Moreover, it is understood that your client will have no right to
withdraw your client’s plea of guilty should the Court impose a sentence that is outside the
Guidelines range or if the Court does not follow the Government’s sentencing
recommendation. The Government and your client will be bound by this Agreement,
regardless of the sentence imposed by the Court. Any effort by your client to withdraw the
guilty plea because of the length of the sentence shall constitute a breach of this Agreement.

IX. Conditions of Release

22. Your client acknowledges that, although the Government will not seek a change
in your client’s release conditions pending sentencing, the final decision regarding your
client’s bond status or detention will be made by the Court at the time of your client’s plea of
guilty. The Government will not oppose your client’s voluntary surrender to commence
serving any sentence which is imposed. The Government may move to change your client’s
conditions of release, including requesting that your client be detained pending sentencing, if
your client engages in further criminal conduct prior to sentencing or if the Government
obtains information that it did not possess at the time of your client’s plea of guilty and that is
relevant to whether your client is likely to flee or pose a danger to any person or the

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community. Your client also agrees that any violation of your client’s release conditions or
any misconduct by your client may result in the Government filing an ex parte motion with
the Court requesting that a bench warrant be issued for your client’s arrest and that your
client be detained without bond while pending sentencing in your client’s case.

X. Waivers
A. Venue
23. Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

24, Your client agrees that, should the conviction following your client’s plea of
guilty pursuant to this Agreement be vacated for any reason, any prosecution, based on the
conduct set forth in the attached Statement of Offense, that is not time-barred by the
applicable statute of limitations on the date of the signing of this Agreement (including any
counts that the Government has agreed not to prosecute or to dismiss at sentencing pursuant
to this Agreement)may be commenced or reinstated against your client, notwithstanding the
expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution. It is the intent of this Agreement to
waive all defenses based on the statute of limitations with respect to any prosecution of
conduct set forth in the attached Statement of Offense that is not time-barred on the date that
this Agreement is signed.

C. Trial Rights

25. Your client understands that by pleading guilty in this case your client agrees to
waive certain rights afforded by the Constitution of the United States and/or by statute or
rule. Your client agrees to forego the right to any further discovery or disclosures of
information not already provided at the time of the entry of your client’s guilty plea. Your
client also agrees to waive, among other rights, the right to be indicted by a Grand Jury, the
right to plead not guilty, and the right to a jury trial. If there were a jury trial, your client
would have the right to be represented by counsel, to confront and cross-examine witnesses
against your client, to compel witnesses to appear for the purpose of testifying and presenting
other evidence on your client’s behalf, and to choose whether to testify. If there were a jury
trial and your client chose not to testify at that trial, your client would have the right to have
the jury instructed that your client’s failure to testify could not be held against your client.
Your client would further have the right to have the jury instructed that your client is
presumed innocent until proven guilty, and that the burden would be on the United States to
prove your client’s guilt beyond a reasonable doubt. If your client were found guilty after a
trial, your client would have the right to appeal your client’s conviction. Your client
understands that the Fifth Amendment to the Constitution of the United States protects your
client from the use of self-incriminating statements in a criminal prosecution. By entering a
plea of guilty, your client knowingly and voluntarily waives or gives up your client’s right
against self-incrimination.

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26. Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal! Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit
the admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily
waives the rights that arise under these rules in the event your client withdraws your client’s
guilty plea or withdraws from this Agreement after signing it.

27. Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a
time decided upon by the parties with the concurrence of the Court. Your client understands
that the date for sentencing will be set by the Court.

D. Appeal Rights

28. Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client agrees to
waive the right to appeal the sentence in this case, including any term of imprisonment, fine,
forfeiture, award of restitution, term of supervised release, authority of the Court to set
conditions of release, and the manner in which the sentence was determined, except to the
extent the Court sentences your client above the statutory maximum or guidelines range
determined by the Court, in which case your client would have the right to appeal the illegal
sentence or above-guidelines sentence, but not to raise on appeal other issues regarding the
sentencing. In agreeing to this waiver, your client is aware that your client’s sentence has yet
to be determined by the Court. Realizing the uncertainty in estimating what sentence the
Court ultimately will impose, your client knowingly and willingly waives your client’s right
to appeal the sentence, to the extent noted above, in exchange for the concessions made by
the Government in this Agreement.

E. Collateral Attack

29. Your client also waives any right to challenge the conviction entered or sentence
imposed under this Agreement or otherwise attempt to modify or change the sentence or the
manner in which it was determined in any collateral attack, including, but not limited to, a
motion brought under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to
the extent such a motion is based on newly discovered evidence or on a claim that your client
received ineffective assistance of counsel in entering into this Agreement or in connection
with sentencing. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c)(2).

F. Privacy Act and FOIA Rights
30. Your client also agrees to waive all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including and without

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limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C. §
552, or the Privacy Act, 5 U.S.C. § 552a,

XI. Use of Self-Incriminating Information

31. The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that
the Government will be free to use against your client for any purpose at the sentencing in
this case or in any related criminal or civil proceedings, any self-incriminating information
provided by your client pursuant to this Agreement or during the course of debriefings
conducted in anticipation of this Agreement, regardless of whether those debriefings were
previously covered by an “off the record” agreement by the parties

XII. Restitution

32. Your client understands that the Court has an obligation to determine whether,
and in what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A.
Apart from that determination of mandatory restitution, your client agrees to pay restitution
to the United States Office of Personnel Management, Federal Investigative Services (Attn:
Integrity Assurance), in the amount of $10,000.

33. | Payments of restitution shall be made to the Clerk of the Court. In order to
facilitate the collection of financial obligations to be imposed in connection with this
prosecution, your client agrees to disclose fully all assets in which your client has any interest
or over which your client exercises control, directly or indirectly, including those held by a
spouse, nominee or other third party. Your client agrees to submit a completed financial
statement on a standard financial disclosure form which has been provided to you with this
Agreement to the Financial Litigation Unit of the United States Attorney’s Office, as it
directs. If you do not receive the disclosure form, your client agrees to request one from
usadc.ecfflu@usa.doj.gov. Your client will complete and electronically provide the standard
financial disclosure form to usadc.ecfflu@usa.doj.gov 30 days prior to your client’s
sentencing. Your client agrees to be contacted by the Financial Litigation Unit of the United
States Attorney’s Office, through defense counsel, to complete a financial statement. Upon
review, if there are any follow-up questions, your client agrees to cooperate with the
Financial Litigation Unit. Your client promises that the financial statement and disclosures
will be complete, accurate and truthful, and understands that any willful falsehood on the
financial statement could be prosecuted as a separate crime punishable under 18 U.S.C. §
1001, which carries an additional five years’ incarceration and a fine.

34. Your client expressly authorizes the United States Attorney’s Office to obtain a
credit report on your client in order to evaluate your client’s ability to satisfy any financial
obligations imposed by the Court or agreed to herein.

35. Your client understands and agrees that the restitution or fines imposed by the
Court will be due and payable immediately and subject to immediate enforcement by the
United States. Ifthe Court imposes a schedule of payments, your client understands that the
schedule of payments is merely a minimum schedule of payments and will not be the only

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method, nor a limitation on the methods, available to the United States to enforce the
criminal judgment. If your client is sentenced to a term of imprisonment by the Court, your
client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

36. Your client certifies that your client has made no transfer of assets in
contemplation of this prosecution for the purpose of evading or defeating financial
obligations that are created by this Agreement and/or that may be imposed by the Court. In
addition, your client promises to make no such transfers in the future until your client has
fulfilled the financial obligations under this Agreement.

XII. Resignation or Retirement

37. Your client agrees to resign or to retire, if she is eligible, from her position with
the federal government no later than July 25, 2014. Your client has submitted her resignation
which becomes effective on July 25, 2014.

XIV. Breach of Agreement

38. Your client understands and agrees that, if after entering this Agreement, your
client fails specifically to perform or to fulfill completely each and every one of your client’s
obligations under this Agreement, or engages in any criminal activity prior to sentencing,
your client will have breached this Agreement. In the event of such a breach: (a) the
Government will be free from its obligations under this Agreement; (b) your client will not
have the right to withdraw the guilty plea; (c) your client will be fully subject to criminal
prosecution for any other crimes, including perjury and obstruction of justice; and (d) the
Government will be free to use against your client, directly and indirectly, in any criminal or
civil proceeding, all statements made by your client and any of the information or materials
provided by your client, including such statements, information and materials provided
pursuant to this Agreement or during the course of any debriefings conducted in anticipation
of, or after entry of, this Agreement, whether or not the debriefings were previously
characterized as “off-the-record” debriefings, and including your client’s statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure.

39. Your client understands and agrees that the Government shall be required to prove
a breach of this Agreement only by a preponderance of the evidence, except where such
breach is based on a violation of federal, state, or local criminal law, which the Government
need prove only by probable cause in order to establish a breach of this Agreement.

40. Nothing in this Agreement shall be construed to permit your client to commit
perjury, to make false statements or declarations, to obstruct justice, or to protect your client
from prosecution for any crimes not included within this Agreement or committed by your
client after the execution of this Agreement. Your client understands and agrees that the
Government reserves the right to prosecute your client for any such offenses. Your client
further understands that any perjury, false statements or declarations, or obstruction of justice

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relating to your client’s obligations under this Agreement shall constitute a breach of this
Agreement. In the event of such a breach, your client will not be allowed to withdraw your
client’s guilty plea.

XV. Complete Agreement

41. No agreements, promises, understandings, or representations have been made by
the parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to
writing and signed by your client, defense counsel, and an Assistant United States Attorney
for the District of Columbia.

42. Your client further understands that this Agreement is binding only upon the
Criminal and Superior Court Divisions of the United States Attorney’s Office for the District
of Columbia. This Agreement does not bind the Civil Division of this Office or any other
United States Attorney’s Office, nor does it bind any other state, local, or federal prosecutor.
It also does not bar or compromise any civil, tax, or administrative claim pending or that may
be made against your client.

43, If the foregoing terms and conditions are satisfactory, your client may so indicate
by signing this Agreement and the Statement of Offense, and returning both to me no later
than July 28, 2014.

Sincerely yours,

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ONALD C. MACHEN JR.
con States Attorney
for the District of Columbia

By: LL. Ce cl~ Cate
ELLEN CHUBIN EPSTEIN, D.C. Bar 442861

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, J.
Dennis Murphy, Esq. I fully understand this Agreement and agree to it without reservation. I do
this voluntarily and of my own free will, intending to be legally bound. No threats have been
made to me nor am I under the influence of anything that could impede my ability to understand
this Agreement fully. Iam pleading guilty because I am in fact guilty of the offense(s) identified
in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

Date: II li aul. Ciel ir

fina M. Adams
efendant

ATTORNEY’S ACKNOWLEDGMENT

[ have read every page of this Agreement, reviewed this Agreement with my client, Gina
M. Adams, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

Date: alaty

 

nis a\
Attorney for Défendant

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